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              APPENDIX A
                                       Case
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                                   3                                     UNITED STATES DISTRICT COURT

                                   4                                    NORTHERN DISTRICT OF CALIFORNIA

                                   5
                                            USA,
                                   6                                                             Case No. 22-cr-00281-WHO-1
                                                           Plaintiff,
                                   7
                                                   v.                                            CRIMINAL PRETRIAL ORDER
                                   8
                                            ALEXANDER BULAZO,
                                   9
                                                           Defendant.
                                  10

                                  11
                                       1.      Trial Date
                                  12
Northern District of California
 United States District Court




                                               Trial is set for February 18, 2025, beginning at 8:30 A.M., in Courtroom 2, 17th Floor, 450
                                  13

                                  14   Golden Gate Avenue, San Francisco, California.

                                  15   2.      Pretrial Conference

                                  16           A Pretrial Conference has been set for January 13, 2025, at 2:00 P.M. The parties shall
                                  17   follow the requirements of Crim. L.R. 17.1-1, as supplemented below: The government and, to the
                                  18   extent consistent with defendant’s right to an effective defense, the defendant shall do the following at
                                  19
                                       least seven days prior to the Pretrial Conference:
                                  20
                                                        (i)      Serve and file a trial memorandum that briefly states the legal bases for the
                                  21
                                       charges and the anticipated evidence, and addresses any evidentiary, procedural, or other anticipated
                                  22
                                       legal issues;
                                  23
                                                        (ii)     Serve and file a witness list that includes a brief summary of the testimony of
                                  24

                                  25   each witness; and

                                  26                    (iii)    Serve and file exhibit lists and serve copies of all marked exhibits on all

                                  27   parties, as discussed in section 5, below.
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                                                       (iv)    Submit an agreed-upon set of additional requested voir dire questions to be
                                   1
                                       posed by the Court or included in the Jury Questionnaire (see section 7 below). Any voir dire
                                   2

                                   3   questions on which counsel cannot agree shall be submitted separately. Voir dire by counsel will

                                   4   usually be limited to fifteen minutes per side; and

                                   5                   (v)     Meet and confer and be prepared to discuss with the Court at the Pretrial
                                   6   Conference any anticipated evidentiary objections and any means for shortening and simplifying
                                   7
                                       the trial (by stipulating to such matters as chain of custody, nature of substances, use of the mails,
                                   8
                                       etc.).
                                   9
                                       3.       Motions In Limine
                                  10
                                                Any party wishing to have motions in limine heard prior to the commencement of trial must
                                  11

                                  12   file and serve same no later than fourteen days prior to the date set for the Pretrial Conference. All
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 United States District Court




                                  13   motions in limine shall be contained in one document, limited to 25 pages and prepared in accordance

                                  14   with Civil L. R. 7-2(b), with each motion listed as a subheading. Opposition to the motions in limine
                                  15   shall be contained in one document, limited to 25 pages, with corresponding subheadings, and shall be
                                  16
                                       filed and served no later than seven days prior to the Pretrial Conference. No reply papers will be
                                  17
                                       considered. The motions will be heard at the Pretrial Conference or at such other time as the Court
                                  18
                                       may direct.
                                  19

                                  20   4.       Jury Instructions

                                  21            a.     Joint Set of Instructions. The parties shall jointly prepare a set of jury instructions,

                                  22   and shall file the proposed instructions at least seven days prior to the Pretrial Conference. The

                                  23   submission shall contain both agreed-upon instructions (which shall be so noted), and contested

                                  24   instructions, all in the order in which they should be read to the jury. Where contested instructions

                                  25   are included, they should be annotated both with the proponent’s authority for seeking the

                                  26   instruction and the opponent’s reason for opposition. Counsel shall deliver to Chambers a copy of

                                  27   the joint submission, on a CD/DVD in Word format. The label shall include the case number and

                                  28   a description of the documents.
                                                                                             2
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                                   1           b.      Substance and Format of Instructions. The instructions shall cover all substantive

                                   2   issues and other points not covered by the Ninth Circuit Manual of Model Jury Instructions. Each

                                   3   requested instruction shall be typed in full on a separate page and citations to the authorities upon

                                   4   which the instruction is based shall be included. Instructions shall be brief, clear, written in plain

                                   5   English, and free of argument. Pattern or form instructions shall be revised to address the

                                   6   particular facts and issues of this case.

                                   7           c.      Preliminary Statement and Instructions. If the parties wish to have a preliminary

                                   8   statement read to the jury, and/or preliminary instructions given to the jury, they shall jointly

                                   9   prepare and file the text of the proposed preliminary statement and/or preliminary instructions at

                                  10   least seven days prior to the Pretrial Conference.

                                  11   5.      Exhibits

                                  12           a.      Provide Copies of Exhibits to Other Parties. The government and, to the extent
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                                  13   consistent with the defendant’s right to an effective defense, the defendant shall provide every

                                  14   other party with one set of all proposed exhibits, charts, schedules, summaries, diagrams, and

                                  15   other similar documentary materials to be used in its case in chief at trial, together with a complete

                                  16   list of all such proposed exhibits, at least fourteen days prior to the Pretrial Conference.

                                  17   Voluminous exhibits shall be reduced by elimination of irrelevant portions or through the use of

                                  18   summaries. Each item shall be pre-marked with a trial exhibit sticker (“Trial Exhibit No.__”)

                                  19   label; defendant’s exhibit numbers shall be sequenced to begin after plaintiff’s exhibit numbers. If

                                  20   there are numerous exhibits, they should be provided in three-ring binders with marked tab

                                  21   separators. All exhibits that have not been provided as required are subject to exclusion.

                                  22           b.      Stipulations re Admissibility. At least seven days prior to the Pretrial Conference,

                                  23   the parties shall make a good faith effort to stipulate to exhibits’ admissibility. If stipulation is not

                                  24   possible, the parties shall make every effort to stipulate to authenticity and foundation absent a

                                  25   legitimate (not tactical) objection.

                                  26           c.      Objections to Exhibits. In addition to the exhibit list, counsel shall confer with

                                  27   respect to any other objections to exhibits in advance of the Pretrial Conference. Each party shall

                                  28   file a statement briefly identifying each item objected to, the grounds for the objection, and the
                                                                                            3
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                                   1   position of the offering party at least seven days prior to the date set for the Pretrial Conference.

                                   2          d.      Provide Copies of Exhibits to Court. One set of exhibits shall be provided to the

                                   3   Court in Chambers on the Friday prior to the trial date, in binders, marked, tabbed, and indexed in

                                   4   accordance with Local Rule 16-10(b)(7). Blocks of numbers shall be assigned to fit the needs of

                                   5   the case (e.g., Plaintiff has 1-100, Defendant has 101-200). The parties shall not mark duplicate

                                   6   exhibits (e.g., plaintiff and defendant shall not mark the same exhibit; only one copy of the exhibit

                                   7   shall be marked).

                                   8          e.      Witness Binders. If all of the exhibits in a case do not fit in one binder, then parties

                                   9   shall prepare a witness binder for each witness that will testify regarding three or more exhibits.

                                  10          f.      Disposition of Exhibits after Trial. Upon the conclusion of the trial, each party

                                  11   shall retain its exhibits through the appellate process, as well as any exhibits that were offered but

                                  12   the Court did not admit. It is each party’s responsibility to make arrangements with the Clerk of
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                                  13   Court to file the record on appeal.

                                  14   6.     Voir Dire

                                  15          The Court will utilize a Juror Questionnaire, which may include case specific questions, to

                                  16   be filled out by prospective jurors in advance of jury selection. Judge Orrick will hold a hearing

                                  17   one to three days prior to jury selection to consider whether any jurors should be excused for

                                  18   hardship or cause based on the written responses. Judge Orrick will only excuse jurors at that

                                  19   hearing if both parties agree. The parties shall review and follow Judge Orrick’s Standing Order

                                  20   Regarding Juror Questionnaires and Social Media Research, which is incorporated by reference

                                  21   into this Order.

                                  22   7.     Other Pretrial Matters

                                  23          a.      Status Conferences. Any party desiring to confer with the Court may, upon notice

                                  24   to all other parties, arrange a conference through the Courtroom Deputy, Jean Davis, at 415-522-

                                  25   2077 or whocrd@cand.uscourts.gov.

                                  26          b.      Daily Transcripts. Should a daily transcript and/or realtime reporting be desired,

                                  27   the parties shall make arrangements with Kristen Melen, Court Reporter Supervisor, at 415-522-

                                  28   2079 or Kristen_Melen@cand.uscourts.gov, at least seven calendar days prior to the trial date.
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                                   1   8.        Trial Matters

                                   2             a.    The normal trial schedule will be from 8:30 a.m. to 1:30 p.m. (or slightly longer to

                                   3   finish a witness) with two fifteen minute breaks. Trial is usually held from Monday through

                                   4   Friday.

                                   5             b.    Parties must meet and confer to exchange any visuals, graphics or exhibits to be

                                   6   used in opening statements. Unless otherwise agreed, the exchange must occur no later than

                                   7   Wednesday before the trial. Any objections not resolved must be filed in writing by Thursday

                                   8   before trial. The parties shall be available by telephone Friday before trial to discuss the issue

                                   9   raised with the Court.

                                  10             c.    The parties shall disclose the witnesses whom they will call at trial on any given

                                  11   day by at least 2:00 p.m. the court day before their testimony is expected. Failure to have a

                                  12   witness ready to proceed at trial will usually constitute resting.
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                                  13             d.    The Court takes a photograph of each witness prior to the witness’s testimony.

                                  14             e.    Other than a party or party representative, fact witnesses are excluded from the

                                  15   courtroom until they are called to testify, and may not attend in the gallery until their testimony is

                                  16   complete.

                                  17             f.    The Court does not typically allow bench conferences. If there are matters that

                                  18   need to be raised with the Court outside the presence of the jury, the parties should raise them in

                                  19   the morning before trial or during recess. With advance notice, the Court is usually available at

                                  20   7:30 a.m. to address such matters.

                                  21   9.        Miscellaneous
                                                 a.     Please DO NOT call Chambers. If you need to contact the Courtroom Deputy,
                                  22

                                  23   please call (415) 522-2077 and leave a message if the deputy is not available, or email

                                  24   whocrd@cand.uscourts.gov.

                                  25             b.    Copies. Each document filed or lodged with the Court must be accompanied by a
                                  26   three-hole punched copy for use in the Judge’s chambers. In addition, one copy of the witness and
                                  27
                                       exhibit lists should be furnished to the court reporter.
                                  28
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                                              c.      Change of Plea. Counsel shall give prompt notice to the United States Attorney and to
                                   1
                                       the Court of any intention to change a previously entered not guilty plea.
                                   2

                                   3          IT IS SO ORDERED.

                                   4   Dated: November 27, 2024
                                   5
                                                                                         ______________________________________
                                   6                                                     WILLIAM H. ORRICK
                                                                                         United States District Judge
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